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     Exhibit A
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           SUPREME                  COURT               OF THE                 STATE                 OF        NEW YORK
           COUNTY                  OF BRONX
                            ------                                                                                                           X                        Index            No.:
          MAGALI                  NEGRON,
                                                                                                                                                                      Filing           Date:

                                                                                                  Plaintiff,
                                                                                                                                                                      SUMMONS
                                                         -against-

                                                                                                                                                                      Plaintiff               designates               Bronx

                                                                                                                                                                      County              as the            place         of trial


          TARGET                  CORPORATION,                                                                                                                        The        basis           of     venue         is

                                                                                                                                                                      Plaintiff's                Residence


                                                                                                  Defendant.                                                          The        Plaintiff                 resides         at:
                                                                                                                                                                      743        Coster               Street,        Apt,        1
                                                               ------------------------------------X                                                                  Bronx,             New            York         10474


          To     the     above         named          Defendant:


                          YOU          ARE          HEREBY                        SUMMONED                             to       answer          the       complaint              in    this       action            and      to serve
          a copy          of   your         answer,          or        if   the      complaint                 is not            served           with      this     summons,                    to     serve        a notice          of

          appearance,                 on      the       Plaintiff's                  Attorney                 within             20        days          after      the      service              of         this     summons,
          exclusive            of     the             of    service                (or     within         30     days            after       the      service        is complete                      if this       summons             is
                                             day
          not     personally                delivered             to        you          within         the      State           of      New          York);         and       in       case          of     your         failure      to
          appear          or      answer,         judgment                  will         be taken              against            you        by       default        for     the        relief          demanded                 in   the
          complaint.


          Dated:          Melville,            New         York
                          August            17,     2020


          Defendãnt's                  addresses:


          TARGET                   CORPORATION                                                                                        TARGET                     CORPORATION
          1000         Nicollet         Mall                                                                                          CT      Corporation

          Minneapolis,                  MN          55403                                                                             28     L'b'e'rty           Street      -        Floor           42

                                                                                                                                      N            York,         NY        10005




                                                                                                  BY:     JO           /         HAN           J.     SARDELLI,                       ESQ.
                                                                                                  BRAGO                     I    & ASSOCIATES,                             P.C.
                                                                                                  Attorneys                for    Plaintiff
                                                                                                  MAGALI                    NEGRON
                                                                                                  300     Broadhollow                        Road,         Suite      100W
                                                                                                  Melville,            New            York          11747

                                                                                                  (631)        423-7755




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          SUPREME                     COURT           OF THE                  STATE            OF        NEW YORK
          COUNTY                 OF BRONX
          _____                                                                                                                -X                     Index       No.:
          MAGALI                NEGRON,
                                                                                                                                                      Filing          Date:

                                                                                            Plaintiff,
                                                                                                                                                      VERIFIED
                                          -against-                                                                                                   COMPLAINT


          TARGET                CORPORATION,



                                                                                            Defendant.
                                                    -------                                                                     X


                       PLAINTIFF,                        by     her         attorneys,          BRAGOLI                 &   ASSOCIATES,                         P.C.,         complaining                of    the



          Defendant              herein,          hereby         allege             upon     information            and     belief,        the   following:



                         1.               That      at all       times           hereinafter             mentioned,          Plaintiff,          MAGALI                  NEGRON,                    was        and



          still   is a resident              of    the     County              of    Bronx,         State     of   New      York.



                       2.                 That        at        all         times          hereinafter             mentioned,               Plaintiff,           MAGALI                      NEGRON,


          maintained              a residence                 at 743         Coster         Street,       Apartment           1, Bronx,           New          York       10474.



                       3.                 That           at           all       times           hereinafter               mentioned,                  the        Defendant,                   TARGET


          CORPORATION,                              was        a domestic                  company          organized         and      existing          in the        State     of       Minnesota.



                       4,                 That           at           all       times           hereinafter               mentioned,                  the        Defendant,                   TARGET


          CORPORATION,                              was        a domestic                  company          organized         and      existing          in the        State     lof New            York.



                       5.               That             at           all       times           hereinafter               mentioned,                  the        Defendãñt,                   TARGET


          CORPORATION,                              was         a domestic                   coispany          authorized             to    do     business             in     the        State     of        New


          York.


                       6.               That        at all       times          herein        mentioned,            the     Defendant,             TARGET                     CORPORATION,


          was,     and        still    is,   a domestic                     corporation            duly      organized          and        existing         under         and        by    virtue        of    the



          laws    of     the      State      of    Minnesota.




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                          7.                That            at all          times         herein       mentioned,               the   Defendant,            TARGET                    CORPORATION,


           was,     and         still      is,      a domestic                      corporation              duly      organized           and     existing              under       and    by     virtue      of   the


           laws     of    the          State        of     New             York.


                          8.                That           at all           times       herein         mentioned,               the   Defendant,            TARGET                    CORPORATION,


           was,    and         still      is, a foreign                     corporation              duly       authorized            to   do business              in    the      State   of Minnesota.


                          9.                That           at all           times       herein         mentioned,               the   Defendant,            TARGET                    CORPORATION,


          was,     and         still     is, a foreign                      corporation              duly       authorized            to do      business           in the         State   of New           York,


                          10.               That           at all           times       herein        mentioned,                the   Defendant,            TARGET                    CORPORATION,


          was      the     owner               of        the     premises               located         at     815      E.    Hutchinson            River         Parkway,             Bronx,        New        York


           10465         (hereinafter                    referred               to as the          "subject          premises").


                          11.              That                      at         all         times               hereinafter                mentioned,                      Defendant,                 TARGET


          CORPORATION,                                     was            the    lessor      of the         subject          premises.


                          12.              That                      at         all         times              hereinafter                 mentioned,                      Defendant,                 TARGET


          CORPORATION,                                     was            the   lessee       of the          subject         premises.


                          13.              That                      at         all         times              hereinafter                 mentioned,                      Defendant,                TARGET


          CORPORATION,                                         its        agents,         servants,            and/or          employees            were          responsible              for      the      subject


          premises.


                          14.              That                      at         all         times              hereinafter                 mentioned,                     Defendant,                 TARGET


          CORPORATION,                                     its       agents,          servants         and/or          employees           maintained               the     subject        premises.


                          15.              That                      at         all         times              hereinafter                 mentioned,                     Defendant,                 TARGET


          CORPORATION,                                     its       agents,          servants         and/or          employees           repaired         the      subject          premises.


                         16.               That                      at         all         times              hereinafter                 mentioned,                     Defendant,                 TARGET


          CORPORATION,                                     its       agents,          servants         and/or          employees           managed            the        subject       premises.




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                        17.              That              at        all        times               hereinafter                 mentioned,                         Defendant,                        TARGET


           CORPORATION,                             its    agents,         servants        and/or        employees              inspected              the        subject          premises.


                        18.              That              at        all        times               hereinafter                 mentioned,                         Defendant,                        TARGET


          CORPORATION,                              its    agents,         servants        and/or        employees              supervised                  the     subject          premises.


                        19.              That              at        all        times               hereinafter                mentioned,                          Defendant,                        TARGET


          CORPORATION,                              its    agents,         servants        and/or        employees              controlled              the        subject          premises.



                        20.              That              at        all        times               hereinafter                mentioned,                          Defendant,                        TARGET


          CORPORATION,                              its    agents,         servants        and/or        employees              operated              the     subject             prenlises.



                        21.              That              at        all        times               hereinafter                mentioned,                          Defendant,                        TARGET


          CORPORATION,                               its    agents,          servants         and       or    employees                had       a duty              to    properly             own,         lease,



          maintain,           repair,          manage,          inspect,        supervise,            control        and       operate          the     subject            premises.


                        22.              That              at        all        times               hereinafter                mentioned,                          Defendant,                    TARGET


          CORPORATION,                               its    agents,          servants         and       or      employees               breached                  their      duty         to    own,         lease,



          meliitelii,         repair,          niaiiage,        inspect,        supervise,            control        and       operate          the     subject            premises.



                        23.              That       on     or    about        August         18,      2018,       Plaintiff,           MAGALI                     NEGRON,                      was     lawfully


          within        the      subject           premises,               located      at     815       E.     Hutchinson                River         Parkway,                   in     the    County              of



          Bronx,        State         of New         York.


                        24.              That       on     or    about        August         18,      2018,       Plaintiff,           MAGALI                     NEGRON,                      was     lawfully


          traversing            the       subject          premises,            when         she       was        caused         to      trip/slip           and          fall,      as    a result            of     a


          dangerous            and       hazardous              condition.


                        25.              The      above         mentioned             occurrence,             and     the      results        thereof,             were           caused        by    the


          negligence                of    the       Defendant                and/or          said       Defendant's                   agents,          servants,                  employees                 and/or


          licensees            in        the       ownership,                 operation,              management,                     supervision,                    maintenance,                     control,




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           inspection                  and     repair          of the               subject               premises.


                         26.                   That           Defendant,                               TARGET                            CORPORATION,                                         its        agents,          servants                   and/or


           employees                    were           reckless,                    careless                   and           negligent                  in      the        ownership,                    operation,                management,


          maintenance,                       supervision,                         inspection,                       repair          and      control             of        the    subject             premises;             by      permitting                    a


          dangerous                    and      hazardous                         condition                    to     exist         so      that        it    was          dangerous                 for     persons,              in        particular,


          this      Plaintiff,                MAGALI                         NEGRON;                                by     failing           to        keep          the     said         premises               in    a reasonably                        safe



          condition;                   in     failing             to         remedy                    said          condition;                   in     failing             to        post         warnings;             in       allowing                 the


          premises                to    become               and            remain                in      a defective                    and/or              dangerous                 condition;              in     failing            to     keep        the


          subject            premises                  in     a reasonably                                safe           condition                 prior         to        and         including              August               18,         2018;          in



          causing,            creating,                allowing,                     and/or              permitting                   a dangerous                      and        hazardous                 condition;                  in     failing        to



          remedy             said            condition;                     in      failing               to        warn           the      public              at     large           and,         in     particular,              the         Plaintiff



          herein,            of        the      dangers                     inherent                   therein                which              were           likely            to     cause             injury        to        the         Plaintiff



          MAGALI                       NEGRON;                         in        failing          to      take           reasonable                    steps,         precautions                   and      safeguards                  to keep            the


          subject        premises                   in      a reasonably                          safe           condition;                 in     failing            to    post         warnings,               barriers           and         or       signs


          to     warn         the            public           of        the          dangerous                           condition;                in        permitting                  the         condition            to        exist            for     an


          unreasonable                       period            of           time;           in         failing             to      inspect,             timely              inspect            and/or          properly                 inspect             the


          subject         premises                    herein;                and           Defendant,                        its    agents,              servants                and/or             employees               were              otherwise



          reckless,               cmuless                   and             negligent                     in         the           ownership,                    operation,                    managenicut,                        maintenance,


          supervision,                  inspection,                    repair              and          control              of the         subject             premises.


                         27.                  That          as result                 of      the         foregoing,                     Plaintiff,             MAGALI                        NEGRON,                    sustained                certain


          severe        personal                injuries.


                        28.                   The           aforesaid                  injuries                  sustained                 by      Plaintiff,               MAGALI                       NEGRON,                     was          caused



          solely        by        reason          of        the        negligence                        of      the       Defendant,                    and         without             any         negligence               or     fault           on     the


          part     of the          Plaintiff             contributing                            thereto.




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                         29.                That          Defendant,                     TARGET                       CORPORATION,                                       its         agents,                servants              and/or


           employees                had      actual          notice         of the          aforementioned                       dangerous                 and        defective                condition.


                         30.                That          Defendant,                     TARGET                       CORPORATION,                                       its        agents,                 servants              and/or


          employees                 had      constructive                 notice            of    the     aforementioned                      dangerous                      and       defective              condition.


                         31.                That         as     a      result          of        the      foregoing,                Plaintiff,              MAGALI                           NEGRON,                      smtained



          serious,         severe            and       periliailent              injuries              and      was      rendered             sick,        sore,            lame,         and         disabled;            Plaintiff,


          MAGALI                    NEGRON,                    was        caused             to        suffer       great        physical             pain,           discomfort,                     and         disability              and


          will       continue               to      suffer          pain,          discomfort,                    and          disability             in        the          future;           Plaintiff,              MAGALI


          NEGRON,                     was          caused           to     undergo                 hospital              and      medical              care,            aid,        and            treatment,             and            may


          continue             to    undergo              medical              care,         aid        and       treatment             for      a long               period            of     time          to     come            in     the



          future;        Plaintiff,              MAGALI                   NEGRON,                         incurred             large        sums           of     expenses                   for      medical             care,           aid,


          and       attention;            Plaintiff,           MAGALI                       NEGRON,                      was      further         caused               to      become                incapacitated                   from


          and       hindered           in    the       progress             of     her       usual           pursuits,          duties,         and        activities               for       a long          period           of        time


          to come         in the          future.


                         32.                That        as     a      result         of          the      foregoing,               Plaintiff,               MAGALI                        NEGRON,                         has            been


          damaged              in    an      amount            which             exceeds               the      jurisdictional                limits            of     all      lower              courts         which         would


          otherwise            have         jurisdiction.



                        WHEREFORE,                                    Plaintiff,                 MAGALI                     NEGRON,                        demands                     judgment                     against                the



          Defendant,                TARGET                     CORPORATION;                                       together             with      the            costs          and        disbursements                         of        this


          action.




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           Dated:   Melville,    New         York
                    August      17,   2020



                                                    Yours,       etc.,




                                                    BY:      JONA                   N      J. SARDELLI,           ESQ.
                                                    BRAGOL                       ASSOCIATES,               P.C.
                                                    Attorneys            for   Plaintiff
                                                    MAGALI                NEGRON
                                                    300      Broadhollow               Road,    Suite     100W
                                                    Melville,       New         York        11747

                                                    (631)       423-7755




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                                                                ATTORNEY'S                                          VERIFICATION



                          The      undersigned,                an     attorney                duly      admitted            and      licensed          to practice            in the        Courts         of the


           State      of New          York,       hereby            affirms             the      following            to be true            under        the    penalties             of perjury:


                          I am the           attorney       for       the        Plaintiff            in the       within         action;       that     the     undersigned                 has        read     the



          foregoing             VERIFIED                 COMPLAINT                               and        knows       the       contents          thereof;           that   the        same       is true       to


          affirmant's             own        knowledge,                except            as to those               matters         alleged        to be true             upon       information                 and



          belief,         and    as to those            affirmant                believe             them     to be true.


                          The      undersigned              further              states        that     the       reason      this     verification              is made            by    the      undersigned


          and       not    by    Plaintiff        is that       the       Plaintiff              does       not     reside        within        the     County           where           affirmant


          maintains             an office.


                          The      grounds         of    affirmant's                    belief        as to all       matters          not      stated         to be upon             affirmant's



          knowledge,               are   documents,                  correspondences,                          and     records         maintained                in     affirmant's             files      and


          conversations               had       with     the        Plaintiff.


                          The      undersigned              affirms              that      the       foregoing             statements           are true,             under     the       penalty          of


          perjury.



          Dated:          Melville,          New        York
                          August         17,    2020


                                                                                                                             JONATHA                      J     SARDELLI,                       ESQ.




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          SUPREME                    COURT           OF THE        STATE         OF NEW              YORK
          COUNTY                OF BRONX
          ===----===                                  =========-=============                                     =========                                      --===--=

          MAGALI               NEGRON,


                                                                                                                                                         Plaintiff,
                                                                   -against-


          TARGET               CORPORATION,
                                                                                                                                                         Defendant.


                                                                 SUMMONS              and VERIFIED          COMPLAINT
          ====-=======--======_                                ____     _ _==_       __ _ _ _=======------===================

                                                                           BRAGOLI              & ASSOCIATES,                        P.C.
                                                                                 Attoriteys         for    the ?|üititiff
                                                                                   MAGALI             NEGRON
                                                                        300     Broadhe!!ew               Road,         Suite     100W
                                                                                 Melville,        New       York         11747

                                                                                          (631)       423-7755
          _ _ ___        __      .          _   __     _   ___                                            ___ _ _________                                             _____
          To:>

          Attorney(s)        for>
                         ____
            .__......._.._.                                                               _______                               ____________                                ___
          Service         of a copy         of the    within                                                               is hereby         admitted.


          Dated,
                                                                                              Attorney(s)                for


          Sir:     - Please          take   notice


          that     the    within        is a true      copy      of a                 duly      entered           in the        office      of the   clerk    of the    within    named
          court      on


          Dated:                            , 2020
          Attorney            sigñature         pursuant         to Sec.      130-1.1-a       of the       Rules         of the      Chief     M=iaistrator             (22NYCRR)
                                                                                              Yours,        etc.




                                                                                              BY:         JONAT                     J. SARDELLI,              ESQ.
                                                                                              BRAGOLI               &           SSOCIATES,           P.C.
                                                                                              Attoritsys          for     the Plaintiff
                                                                                              MAGALI              NEGRON
                                                                                              300     Broad!             !!^w     Road,      Suite    100W
                                                                                              Melville,        New         York      11747

                                                                                              (631)       423-7755




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